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                                                                                 2014 Dec-02 PM 12:28
                                                                                 U.S. DISTRICT COURT
                                                                                     N.D. OF ALABAMA


                 IN THE UNITED STATES DISTRICT COURT
               FOR THE NORTHERN DISTRICT OF ALABAMA
                          SOUTHERN DIVISION

JENNIFER CAMPBELL,                     )
                                       )
      Plaintiff,                       )
                                       )
v.                                     )             Civil Action Number
                                       )             2:14-CV-02042-VEH
UNITED RECOVERY SYSTEMS                )
LP,                                    )
                                       )
      Defendant.                       )

         PLAINTIFF’S NOTICE OF DISMISSAL OF COMPLAINT

      Plaintiff, Jennifer Campbell, pursuant to Rule 41(a)(1)(i) of the Federal Rules

of Civil Procedure, hereby dismisses all causes of action in the complaint against

Defendant, United Recovery Systems, LP with prejudice.

      Defendant has not filed either an answer to the complaint or a motion for

summary judgment as to these claims. Dismissal under Rule 41(a)(1)(i) is therefore

appropriate.

                                             Respectfully submitted,

 Dated: December 2nd, 2014                   /s/ S. Scott Allums
                                             S. Scott Allums (ASB-5967-n62a)
                                             S. Scott Allums, PC
                                             506 North 18th Street
                                             Bessemer, Alabama 35020
                                             Telephone: (205) 426-7080
                                             Facsimile: (888) 341-6040
                                             scott@allumslaw.com
                                             Attorney for Plaintiff

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                        CERTIFICATE OF SERVICE

      I hereby certify that on December 2, 2014 a true and accurate copy of the

foregoing Notice of Dismissal of Complaint has been served upon the following by

electronic mail.

Janet Young
Compliance Department
United Recovery Systems, LP
janet.deyoung@ursi.com


                                        /s/ S. Scott Allums
                                        S. Scott Allums
                                        Counsel for Plaintiff




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